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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                        -v-                                               20 Cr. 320 (PAE)

 WILLIAM SADLEIR,                                                              ORDER

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

       On May 14, 2021, defendant William Sadleir filed a motion to suppress the fruits of

search warrants for two email accounts associated with Mr. Sadleir. Dkt. 32. On July 15, 2021,

the Government notified the Court, via an emailed letter, which is attached to this Order, that it

does not intend to introduce the fruits of those warrants at trial, and that Mr. Sadleir’s motion is

therefore moot. Given the Government’s representation that it will not introduce at trial any

fruits of the two search warrants that were the subject of Mr. Sadleir’s motion to suppress, the

Court denies Mr. Sadleir’s motion as moot, without prejudice to Mr. Sadleir’s right to renew that

motion should the Government’s position change.

       The Clerk of Court is respectfully directed to terminate the motion pending at docket 32.

       SO ORDERED.

                                                             PaJA.�
                                                      __________________________________
                                                            PAUL A. ENGELMAYER
                                                            United States District Judge
Dated: July 16, 2021
       New York, New York
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                                         U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    July 15, 2021


BY ECF AND EMAIL
The Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007
EngelmayerNYSDChambers@nysd.uscourts.gov

       Re:     United States v. William Sadleir, 20 Cr. 320 (PAE)

Dear Judge Engelmayer:

        The Government writes concerning the defendant’s motion to suppress the fruits of search
warrants (the “Warrants”) for an Apple iCloud account associated with the email address
wsadleir@avironpictures.com and a Google account associated with the email address
groupmms212@gmail.com. See Dkt. 32. The Government respectfully disagrees with the
defendant’s arguments, and submits that the affidavit provided in support of the Warrants
established probable cause for them. Also, the defendant has failed to establish standing for his
motion. See, e.g., United States v. Montoya-Eschevarria, 892 F. Supp. 104, 106 (S.D.N.Y. 1995)
(“The law is clear that the burden on the defendant to establish standing is met only by sworn
evidence, in the form of affidavit or testimony, from the defendant or someone with personal
knowledge. The defendant's unsworn assertion of the Government's representations does not meet
this burden.”). However, based on the Government’s review of the materials provided by Google
and Apple, the Government does not intend to introduce the fruits of the Warrants at trial in this
case. As a result, the defendant’s motion to suppress is moot.

                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             United States Attorney


                                         by: _________/s/______________________
                                             Jared Lenow
                                             Assistant United States Attorney
                                             (212) 637-1068

cc: Matthew L. Schwartz (via email)
